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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1369V
                                        UNPUBLISHED


    SHERRIE LEWIS,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: May 6, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Nancy Routh Meyers, Turning Point Litigation, Greensboro, NC, for petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

       On September 9, 2019, Sherrie Lewis filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that suffered left shoulder injuries related to vaccine
administration (SIRVA), resulting from the influenza (flu) vaccination received on
September 12, 2018. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On April 29, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Respondent concluded that Petitioner’s claim meets the Table criteria for SIRVA. Id. at 3.
Specifically, Respondent determined that “[P]etitioner had no apparent history of pain,

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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inflammation or dysfunction of the affected shoulder prior to intramuscular vaccine
administration that would explain the alleged signs, symptoms, examination findings,
and/or diagnostic studies occurring after vaccine injection; she more likely than not
suffered the onset of pain within forty-eight hours of vaccine administration; her pain and
reduced range of motion were limited to the shoulder in which the intramuscular vaccine
was administered; and there is no other condition or abnormality present that would
explain petitioner’s symptoms.” Id. Respondent further agrees that “the case was timely
filed, that the vaccine was received in the United States, and that Petitioner satisfies the
statutory severity requirement by suffering the residual effects or complications of her
injury for more than six months after vaccine administration.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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